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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


WAYNE VANATHAN BLACK,               )
                                    )
     Plaintiff,                     )
                                    )         CIVIL ACTION NO.
     v.                             )           1:22cv107-MHT
                                    )                (WO)
KEN BROWN, et al.,                  )
                                    )
     Defendants.                    )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The        United         States      Magistrate        Judge's

recommendation (Doc. 6) is adopted.

    (2) This lawsuit is dismissed without prejudice for

failure to prosecute the case.

    No costs are taxed.

    The clerk of the court is DIRECTED to enter this

document   on    the   civil      docket     as   a   final   judgment

pursuant   to   Rule    58   of    the     Federal    Rules   of   Civil

Procedure.
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This case is closed.

DONE, this the 31st day of May, 2022.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
